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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                                    CASE NO.: 4:08cr29-SPM

WENDALYN ANN VANN,

           Defendant.
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                ORDER CONTINUING SENTENCING HEARING

      Defendant’s Second Motion to Continue Sentencing (doc. 286) is granted.

Defendant’s sentencing hearing is reset for 1:30 p.m. on April 20, 2009, at the

United States Courthouse in Tallahassee, Florida.

      SO ORDERED this 12th day of February, 2009.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
